Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14. Page 1 of 34

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QO. Okay. Do you remember classes on de-escalation?
A. Yes, ma’am.
Q. Tell me about them. How many were there; one, two?

A. Oh, it was one or two on, you know, how to try to de-

33

escalate ah, problem would be, you know, if you’ve got say for

instance two people arguing with each other and you’re trying

to de-escalate it you separate the two people and deal with
them individually.
QO. So that was the extent of the de-escalation training?

A. Uh-huh.

Q. Okay. Have you ever received any reprimands or punishment

Oo
RK

any other discipline?

No, ma’am.

°

Okay. Are you still married?
Yes, ma’am.

Where does your wife work?

.

She’s a stay-at-home mother.
Okay. Was she ever on the Alexander City Board?
Yes, ma’‘am.

When was she on the city board?

> 10 > 10 > oOo Fr OO PF

Ah, 2010-2011 or 2011-2012; she’s, she can answer that
better; she’s outside.

Q. I can’t bring her in so--ah, was she on the city board
while you were a police officer?

A. Yes, ma’am.

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Case 4:13-cv-00121-SWW = Document 25-3_— Filed 01/03/14 Page 2 of 34

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Q. Did anyone ever accuse you or did you ever hear any
rumbling that you received special treatment because your wife
was on the city council?
A. No, ma’am. My wife was not ah--anything that involved me
she was not allowed to vote on.
Q. Okay. But she did have authority to hire and fire the
chief of police; right, the city council? Not her but the city
council?
A. The city council; yes, ma’am.
Q. Okay. Ah, have you ever been involved in any other court
proceedings as a defendant or a plaintiff besides anything to,
you know, when you had to go testify as a witness?
A. Just the one where I had to testify with DHS ah, had to
testify on Joshua Green.
Well, not those but like have you ever been a defendant?
No, ma’am.
A plaintiff?

No, ma’am.

I've had a speeding ticket.
Okay. Anything else?

Os
A.
Q.
A.
QO. Have you ever had any charges brought against you?
A.
QO.
A. Then the hot check deal that was---

Q.

Okay. Okay, it says answer #6 says John Garrett made a
complaint that you were not a certified officer. Who is John

Garrett?

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Case 4:13-cv-00121-SWW = Document 25-3 — Filed 01/03/14 Page 3 of 34

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A. One of the citizens of Alexander.

Q. Okay. Tell me about this complaint?

A. I, I, all I know of it is he went to the city council
complaining that I was not an officer.

Q. Okay. Was your wife on the city council at that time?

A. Yes, ma’am.

QO. What happened?

A. She was asked not to have any regards in the discussion of
it and they voted for him to meet with the chief and discuss it
with the chief but it was the chief’s position not the city
council’s.

Q. Okay. Are there any other times where you’ve been the
subject of a complaint?

A. Not that I’m aware of.

Q. And on the evening of October gth ah, Mr. Blankenship was
under your command?

A. Yes, ma’am.

QO. Were y’all both part-time officers?

A. No, ma'am, I was listed as a full-time officer.

Q. Okay. But you were not certified?

A. Corrects

Q. Okay.

| A. You have a year to get certified.

Q. Okay. I asked you to describe the manner in which you

determine whether or not you have PC to make an arrest without

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Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14. + Page 4 of 34

a warrant. Can you please describe in greater detail how you
determine, you know when you arrest someone how do you
determine you have PC to make an arrest?
A. It all depends on the case on what’s going on. Ah, you
have, someone being disorderly that’s PC for arrest; ah not,
drinking in public that’s PC for arrest; domestic batteries,
stuff like that.
Q. Okay. Are you allowed to just give individuals citations
or do you need to physically arrest them and bring them down
and book them?
A. If it’s, if it's, depending on the charge you have to take
them down and book’em; (sic) yes, ma’am.
Q. Okay. Well, tell me about the charges for Christopher
Doss? Have you ever just given someone a physical citation for
drinking in public or do you have to arrest them?
A. No, ma'am; it, it is the order of the chief that they do go
to jail and spend the night in jail.

- For drinking in public?

Yes, ma’am.

That is--I don’t know on that.

Q

A

Q. Where does this order come from?

A

O So well how do you know about this order?
A

That’s what chief was, told us.
So he told you?

Q
A. Yes.

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Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14. + Page 5 of 34

Q. He said if you see anyone drinking in public you have to
arrest them and bring them down to the station?

A. Yes.

Q. Do you know if this was written anywhere?

A. No, ma’am.

Q. Were there a lot of orders that the chief told you that
were not written someplace but that he just told you about that
you had to follow?

A. Ah, there’s orders that’s state laws that we had to follow.
Q. Uh-huh, okay; let me rephrase my question. Did Chief
Walters have a lot of written orders?

A. No, ma’am.

Q. Did he have a lot of oral orders like orders that he told
you like this drinking in public that weren’t written down
anywhere he just told you?

A. No, ma‘am; it pretty much, he told us to go by the statue
and there was also orders that, you know, the County Judge said
like drinking and driving is automatic jail time, you know,
driving with no drivers license is automatic jail time and
stuff like that.

Q. Okay. Disorderly conduct?

A. It’s automatic jail time by the statute to neutralize the
subject.

QO. But which statute?

A. I would have to look it up.

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Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14. Page 6 of 34

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Q. So are you saying that I guess that 5-71-207 says that you
have to automatically take them to jail? That’s what you
charged Mr. Doss with.
A. Yes, yes. That would have been the statute for the arrest.
Q. So you didn’t have any discretion; you had to take him to
jail?
A. Yes; ma’am.
Q. Is that your understanding?
A. Yes, ma’am.
Q. Okay. What about terroristic threatening is that something
you could just give them a citation for?
A. It depends on how bad the terroristic threatening is.
Q. All right. I mean pretty much any terroristic threatening
if it’s misdemeanor or felony you got to go let the judge
decide whether it was ah, grounds for them to spend more time
in jail or which way to charge’em (sic).
Q. Okay. What ah, criminal violation didn’t require a jail
visit?
A. Ah, pertaining to this there was---

No, no, no, just in general?
A. ah, you’d have you jaywalking or arguing over a dog being
in somebody else’s yard, just stuff like that.
Q. Is it your normal practice if you find someone committing a
crime to just take them to jail?

A. No, ma’am.

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Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14 Page 7 of 34

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You had discretion?

- No, ma’‘am ah, it just depend on what law they was breaking.

Q
A
Q. But you had no discretion when you drinking in public?
A That’s automatic go to--you, you take’em (sic) to jail.
QO. Per Chief Walters?
A. Per I believe this statute is written now it is automatic
jail time too.
Q. No, no, how the statute was written then at the time of the
arrest?

WILKERSON: Objection to form; that’s been asked
and answered; go ahead and answer again, please.

ELLIS: Many times.

FRAZIER: I’m just trying to make sure I
understand what he’s saying.

WILKERSON: No, I, I, I understand what you’re
attempting to do.

FRAZIER: I’m not trying to trap him I’m just
trying to understand.

WILKERSON: I’m just---

FRAZIER: I get a little confused at times.
Sometimes it’s hard to speak and listen. I’m trying to get
better at listening. So it’s automatic jail time drinking in
public if he’s high?
A. Yes, ma‘am.
Q. Okay, all right. But tell me a little more about use of

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Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14. + Page 8 of 34

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force. Does the City of Alexander have the use of force
policy?

A. Yes, ma’am.

Q. Does the City of Alexander have a written use of force
policy?

A. Yes, ma’am.

QO. Okay. And that was the one pepper spray to---

A. Yes, ma’am.

QO. Okay, let’s talk specifically about this night of October
9, 2011.

A. Yes, ma'am.

QO. Tell me what happened.

A. I received a dispatch from Saline County dispatch to assist
a female from getting her stuff out of a house. I then told
central I would be in route, I met with the female on the

gnd

corner of Vine and Street where she advised me that it was

her kids that she was trying to get out of the house of the
address.
QO. Okay. Do you have the female’s name?

A. Not right off the top of my hand (sic).

and

QO. Okay. You met her on and Vine?

A. Yes, ma’am; right on the corner.

QO. Okay. Then what happened?

gnd

A. She followed me from and Vine just two trailers down to

where I met with Mr. Doss.

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Case 4:13-cv-00121-SWW = Document 25-3 _— Filed 01/03/14. Page 9 of 34

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Q. Okay. What happened? So just tell me what happened?
A. Ah, when I got out of the car Mr. Doss proceeded to be very
verbally toward me, cussing, hollering and screaming, cussing
at her ah, yelling a screaming I was not an officer, I was not
allowed on his property ah, that she wasn’t getting the kids
and all that.
Q. Okay.
A. That Mr. Doss finally calmed down after I had the female
Sit back in the car because they was both arguing back and
forth, I got Mr. Doss to release the children from his house to
their mother after she was, after the kids were given to them,
to the mother Mr. Doss was still getting verbally aggressive
toward us, started toward me, I then call for my backup units
to kind of help me de-neutralize (sic) the system because I had
her arguing in the car and him arguing outside the car ah, at
which time until Officer Blankenship showed up ah, Mr. Doss had
kind of calmed back down a little bit so I cancelled my county
unit which was a-half block up the road when I cancelled’em ah,
we told Mr. Doss, we let the female go, told Mr. Doss that if
he'd go in the house, calm down and stay in for the night, that
he wouldn’t go to jail for drinking in public. He---
QO. And he was in his yard this whole time?
A. No, he was on the street. He was out in the street because
he was in between--I had my police unit in between me and him.
Q. Okay. I mean did you ask him to come to the car?
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Case 4:13-cv-00121-SWW = Document 25-3 ~~ Filed 01/03/14 Page 10 of 34

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A. No, ma’am.
Q. Uh-huh. I had actually ordered him several times to stay
in his yard where I was not getting him any closer to her.
Q. Okay. Go on.
Q. Ah, Mr. Doss agreed to go in the house and kind of calm
down a little bit and told him that he could get a hold to her
tomorrow to figure out on the kids; I didn’t want to get into
that. He agreed, he went into the house, me and Officer
Blankenship left. We me up with the county a-half a block up
the road. At which time we were sitting there talking to the
county unit Mr. Doss had come back out into the street and was
yelling, cussing, and hollering and screaming toward us at
which time I made the decision to go ahead and take him to jail
for disorderly conduct and drinking in public.
Q. So where is this parking lot that you said you met up with
the officers?
A. A-half a block up the street from his house.

Could you see his house?

Yes, ma’am.

Yes, ma’am.

Q
A
Q. And you could see the street?
A
Q And then what happened?

A

- We, when we started toward Mr. Doss’ house he run down the
front of his trailer to the bar-b-que pit which was at the very

back corner of it ah, when we got out of the car he was given

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Case 4:13-cv-00121-SWW = Document 25-3 —~ Filed 01/03/14 Page 11 of 34

43

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the verbal command three different times to get on the ground
ah, that he would be, that he was being placed under arrest, he
refused and then I heard the taser go off. And after he was
hit with the taser I placed him in handcuffs, after getting him
in the handcuffs he still wanted to fight and resist ah, kicked
the side of my police unit which the officer that had the
taser, the actively pulled the trigger again to give him
another zap to get him under control.
QO. And then what happened?
A. I transported him to Saline County Jail where he was booked
on the charges.
Q. Okay. And you said he was tazed a second time because he
was still fighting?
A. Yes.
QO. And that was why?
A. Yes, ma’am.
Q. Okay. And then you mentioned that he was tazed a third
time. Why was he tazed that third time?
A. Because when we got to the jail he was refusing ah,
resisting what the bailiff’s of Saline County Jail.
Q. Okay. Was he tazed again after that?
A. Not that I’m aware of I mean once we get’em (sic) inside of
Saline County’s responsibility.
Q. Okay. We don’t do pat down on’em (sic) or anything once
they’re inside the jail.
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Case 4:13-cv-00121-SWW = Document 25-3 —~-Filed 01/03/14 Page 12 of 34

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Q. Okay. And tell me about this piece of wood he picked up?
Who was around when he picked up the piece of wood?
A. He was by hisself (sic), he had the piece of wood when we

was approaching him.

Q. And so when you were approaching he already had wood in his

hand?

A. Yes. He already had the piece of wood; it was about three
or four inches in diameter, a foot, foot and a-half long.

Q. Okay. What did he do with that piece of wood?

A. He was just holding the piece of wood and standing by the
bar-b-que grill.

Q. Okay. But I’m saying after you came did he swing it at
you?

A. He never swung it at me, he just proceeded to stand there
like he was standing his ground with the piece of wood; would

not comply to my verbal commands to drop the wood and get on

the ground.

Q. So you gave him a verbal command to drop the wood?

A. Yes, ma’am.

O. Okay.

A. As a matter of fact I gave him three verbal commands.
Q. So you gave him three verbal commands to drop the wood?
A. Yes, ma’‘am.

Q. Okay. Did you just talk or did you yell drop the wood?
A. I was in a aggressive manner of that way he would

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Case 4:13-cv-00121-SWW = Document 25-3 ——~Filed 01/03/14 Page 13 of 34

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understand where that I meant drop the wood and get on the
ground.
Q. Okay. How loud did you say?
A. Pretty loud because it was five officers all and the
commotion going on.
Q. So the five officers were there when you y’all out to drop
the weapon?
A. Yes.
Q. Okay. And ah, what else did you tell Mr. Doss?
A. Tell him that he was under arrest, which is public
intoxication, which is drinking in public and disorderly
conduct.

And did this take place in Mr. Doss’ yard?

Yes, ma’am.

Q.
A.
QO. Okay. Ah, so you told Mr. Doss he was under arrest?
A. Yes, ma’am.

Q. And then what happened again?

A. I told him he was under arrest, to get on the ground the
three times and then he did not comply so he was tazed.

Q. After you told him three times he didn’t comply and he was
tazed?

A. Yes, ma’am.

Q. Okay.

A. And I was not the tazing officer so I have no clue of why

or how that come about.

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Case 4:13-cv-00121-SWW = Document 25-3 ——Filed 01/03/14 Page 14 of 34

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Q. Okay. But in your use of force policy you're allowed to
use pepper spray?
A. Yes, ma’am.
Q. So why didn’t you use pepper spray?
A. Because the county was also there and their use of force is
different than ours.
Q. Okay.
A. I mean I can’t speak for the county on what their use of
force is.
QO. But you were the arresting officer; correct?
A. Yes, ma’am.
Q. Okay. So was there a reason you didn’t use pepper spray to
subdue Mr. Doss?
A. I had my pepper spray out, he was tazed before I could ever
get a chance to pepper spray him.
Q. Okay. And then who were the officers that were with you;
you said there were five officers?
A. It would have been me, Officer Blankenship ah, Officer
Green, Babbitt and I don’t know the other officer’s name by
heart.
Q. Okay. And were they all present ah, did you see them all?
A. Yes, all five of us was in the yard.
Q. Were they all in the yard when Mr. Doss was being tazed?
A. Yes, ma’am.
Q. Okay. And do you remember how many officers or which

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Case 4:13-cv-00121-SWW = Document 25-3 —~—Filed 01/03/14 Page 15 of 34

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officers were there when you were yelling, when you were
telling him--not yelling, when you were telling him that he
was under arrest?
A. All five of them.
Q. Okay. And then how did you put Mr. Doss in handcuffs?
A. The, I placed his right hand in the handcuff first, made
sure my spacing was correct, made sure my spacing was correct,
double wrapped my cuffs where they wouldn’t get any tighter
like I was trained to.
Q. Okay. And who helped you handcuff him?
A. Ah, there was five officers, I couldn’t tell you exactly
who helped.
Q. I’m sorry, I need some water. If you need any water I’1l1
give you a bottle.
A. No, I'm fine.
Q. Okay. Were there any officers that helped you try to
subdue Mr. Doss before he was tazed?
A. There was just the ones that was there when we was all
approaching’em and giving him commands he didn’t comply so he
was tazed.
Q. Okay. But specifically Officer Blankenship was present;
correct?
A. Yes, ma’am.
Q. Did Officer Blankenship help you or try to assist you in
cuffing Mr. Doss?
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Case 4:13-cv-00121-SWW  =Document 25-3 ~~ Filed 01/03/14 Page 16 of 34

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A. Ah, no, ma’am; not that I’m aware of, I mean there was--
when he got tazed there was two or three others that went down
to handcuff him so---
QO. Okay. So who was there?
A. Me, Babbitt, Green, Blankenship and the other officer, I
don't know his name.
QO. Mr. Odom?
A. Ah, I would have to defer on that.
Q. If you don’t know that’s fine; I don’t want you to tell me
something that you don’t know. And then would you recognize
Paul Babbitt?
A. Ah, no, ma‘am that’s the first time I had met any of the
county officers.
Q. Okay. Ah, but Officer Green is the one who tazed Mr. Doss;
correct?
A. Yes, ma’am.
Q. Okay. Did he try to help you get Mr. Doss in handcuffs?
A. No, ma’am because he was standing above us with the taser.
Q. Okay. So he was standing above you at that point?
A. Yes, ma’am.
Q. But before Mr. Doss was tased was there anyone that tried
to help you put him in handcuffs?
A. No, he---
Q. Okay.
A. he was standing--the way he was positioning hisself (sic)
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Case 4:13-cv-00121-SWW  =Document 25-3 ——- Filed 01/03/14 Page 17 of 34

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it was going to be, it looked to be it was going to be a
struggle to try to put him in handcuffs.
QO. So you didn’t even try?
A. No.
Q. Okay. Ah, and then--so he’s tased, you get him in
handcuffs---
A. Yes, ma’am.
Q. you tased him a couple of more--how many more times? I
don’t want to put words in your mouth.
A. Ah, I can’t tell you because I wasn’t the one tazing him.
Q. But you could visually tell when he was tazed; correct?
A. No, ma’am; I mean it’s electrical current is---
Q. He didn’t behave any differently after a shot?
A. Not that I could tell I mean everything was in a cluster
trying to get him under arrest.
Q. Okay. Were you the one who transported him?
A. Yes, ma’am.
Q. Okay. And then when you met up with the sheriffs who were
from Saline County in the parking lot?
A. Yes, ma’am.
Q. Okay. You had said before that you had cancelled back up?
A. Yes, ma’am.
Q. Okay. When you met with them did you tell them that you
had cancelled back up?
A. Yes, they, they knew that I had cancelled’em, (sic) they
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had called Saline County and ask to, for me to 49 with them.
Q. What, I don’t know, what does 49 mean?

A. To meet up with them.

Q. How did you know that they knew the backup request was
cancelled?

A. Through Saline County dispatch.

Q. Okay. So you radioed to Saline County to cancel backup?
A. Yes, ma‘am.

QO. Okay. So you meet with these officers in the parking lot;
who did you meet up with?

A. Ah, Green, Babbitt--the county officers that were there
Green, Babbitt and whoever else ah, myself and Blankenship.
Q. Okay. Did you tell them that you didn’t need backup at
that point?

A. Ah, they, they was posted up because I’d done checked 98

off the scene and they just wanted to see if we--they was

asking to see if we had a better map of the city where they
could assist us with backup quicker.

Q. What does 98 mean? I don’t know police language and that’s
why---

A. Oh, I was clear of the scene.

Q. Okay, clear of the scene; okay. So at what point did you
ask them to come and assist you?

A. When Mr. Doss stepped back out in the road and was
hollering, screaming and cussing, I told the county units I had
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Case 4:13-cv-00121-SWW = Document 25-3 ——- Filed 01/03/14 Page 19 of 34

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done told him if he’d stay in the house that he wouldn’t go to
jail, that I was going to go ahead and make the arrest and they
said they would assist me with the arrest.
QO. Okay. So that’s when you decided to arrest him?
A. Yes, ma’am.
Q. Okay. And did you write all this down in your, I guess
report that you submitted to the chief?
A. Yes, ma‘am.
Q. Okay. And ah, I really had another question I was about to
ask you but give me a second. When you went back, when y’all
decided to go back and arrest Mr. Doss did y'all walk over
there?
A. No, we---
Q. Was it close enough to walk?
A. We could have but we had to cross a lane of traffic so we
took our cars because you don’t walk to a scene, you have to
have your unit for, one for protection and one for transport.
Q. Okay. Did you put your lights on?
A. No, ma’am.
Q. Okay. Why not?
A. Because it does not call for, to run lights.
Q. Well, how do you decide when you’re going to run lights?
A. That just depends on the call, on the severity of the call
and---
Q. So your lights depend on the severity?
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Case 4:13-cv-00121-SWW  =Document 25-3 ~~ Filed 01/03/14 Page 20 of 34

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A. Yelp.
Q. Okay. Is there not a policy to have your lights on
whenever you do an arrest?
A. No, ma’am.
Q. Okay. Well let me just ask ah, do you all have cameras in
the Alexander City Police Cars?
A. Yes, ma’am.
Q. When are the cameras triggered?
A. When the lights are triggered.
Q. So if you don’t trigger the lights then the camera is not
triggered?
A. Exactly. Unless we can turn the cameras on manually once
we, when we’re transporting we can turn the camera on to the
inside of the car.
Q. Yeah, yeah. And did you make the decision not to turn the
lights on?
A. Yes, ma’am because there was no reason to have our lights
on.
Q. Okay. So tell me, I asked you about your physical
observations of Mr. Doss---
A. Uh-huh.
Q. at the time. So you said you’re a trained first responder,
correct?
A. Yes, ma’‘am.
Q. Okay. But you didn’t notice any discernible difference in
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Case 4:13-cv-00121-SWW  =Document 25-3 ~~ Filed 01/03/14 Page 21 of 34

53

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Mr. Doss’ physical appearance after he was tazed?
A. No, ma’am; he was still, he was still combative, he was
still breathing and fighting with us.
Q. He was still breathing, that’s good.
A. I mean there was no need to call the medical.
Q. No, no, I’m just asking if you saw a difference after he
was tazed like---
A. Yeah, he was madder.
Q. Madder?
A. Oh, yeah.
Q. I mean could you see a difference on his--and I don’t know,
I’ve never seen anyone being tazed except in ah, what’s that
movie, the Hangover and, you know, when they were tazed I this
is Hollywood but when they were tazed they were like, seemed a
little dazed and fell to the ground.
A. No, ma’am, when you get hit with a taser I mean you’re
going to fall to the ground because it stiffens your muscles up
and it’s only and eight second, once you're, once the shock is
done you’re back to normal. I mean there’s no reoccurring
affects off of it because if there was they wouldn’t let us
carry’em.
Q. Oh, okay. So did you ask Mr. Doss if he needed any medical
attention?
A. Yes, I did.
Q. When did you ask Mr. Doss that?
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2

Case 4:13-cv-00121-SWW = Document 25-3 —~—Filed 01/03/14 Page 22 of 34

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A. Ah, upon putting him in the car.

Q. Okay. What did he tell you?

A. He said that he didn’t want medical attention, he just
wanted to go to jail.

Q. Okay.

A. That he wanted the prongs pulled out of’em (sic) which I
told him would be pulled out of him at the jail by the jailors
because they are trained to pull’em out.

Q. Okay. And then did you discuss this incident with anyone
else on the police force?

No, ma’am.

With any of your fellow officers did you discuss this?
No, ma’am.

Did you discuss this with anyone on the city council?

No, ma’am.

- Did you discuss this with Chief Walters?

Fr O FF OO F DO PP

No, ma’am; I mean like I said I turned my report in, he
told me to do a felony case file on it, I did a felony case
file on it, turned it in---

Q. What’s a felony case file?

A. It's, it’s different than misdemeanors. Felony case files
come through the prosecuting attorney going to---

0. Oh.

A. going to the prosecuting attorney for them to do the

charges.

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Case 4:13-cv-00121-SWW  =Document 25-3 ——Filed 01/03/14 Page 23 of 34

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Q. Oh, okay. But you didn’t charge him with a felony?
WILKERSON: Object to the form.

A. The only felony was the terroristic threatening.

QO. Okay. So that was a felony?

A. Yes, ma’am, so I had to do a felony case file.

Q. Okay. And that was your only interaction with Chief

Walters regarding---

A. Yes, ma’am.

Q. Okay. And did you write the use of force report yourself?

A. I didn’t have to write a use of report form; I didn’t use

force.

Q. Okay, my, my, I apologize. Did you write--what, what

report did you write again?

A. I wrote my arrest deposition (sic) and our incident

reports.

Q. Okay. Did you write the incident report yourself?

A Yes, ma’am.

Q. Did you type it or did you handwrite it?

A

It all gets typed and saved to the computer and printed

Q. Okay. And did you type it yourself?
A. Yes, ma’am.

Q. Okay. At any time during encounter with Mr. Doss did you
have your audio on?

A. Just---

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Case 4:13-cv-00121-SWW Document 25-3 —Filed 01/03/14 Page 24 of 34

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Q. Y’all have body mikes?
A. Ah, I did, we do have body mikes, mine was not on it was
dead from the current calls I had had that night and had not
had time to charge it.
Q. Okay. Well, what time of day did you initially go and help
with the assist?
A. Assist, this with Mr. Doss---
QO. Uh-huh.
A. would have been around midnight.
Q. Okay.
A. Which was halfway through my shift.
QO. Okay. So half of your shift your radio, your body mike was
dead?
A. Yes, ma’am.
QO. Okay. And you may not know this, do you know if Officer
Blankenship if his body mike was on?
A. No, ma’am.
QO. You don’t know?
A. I don’t know.
Q. Okay. Do you know of any audio video recordings that were
made?
A. Just the in-car camera that was recorded on the way to the
jail.
Q. Okay. And the dash cam footage?
A. Yes, ma’‘am.
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Case 4:13-cv-00121-SWW = Document 25-3 —~—Filed 01/03/14 Page 25 of 34

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QO. Who recorded the dash cam footage?
A. It would have been my patrol unit.
QO You mean your car?
A Yes.
Q. Okay. Where are you employed now?
A Tyson Food in North Little Rock.
Q Full time?
A. Yes, ma’am.
QO And was Alexander City Police was that your first and only
job as a law enforcement officer?
A. Yes, ma’am.
QO. Where were you employed before?
A. Alexander Fire Department.
QO. Okay. How long were you with the Alexander Fire
Department?
A. Twelve years.
Q. Twelve years; okay. And why did you leave the Alexander
Fire Department?
A. I'm still with’em as a volunteer, I switched over to the PD
side.
Q. Why?
A. To help the city out and the chief needed the officers.
Q. The chief asked you to leave the fire department and go to
the city?
A. No, ma’am. I had always wanted to get into law enforcement
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Case 4:13-cv-00121-SWW  =Document 25-3 ~~ Filed 01/03/14 Page 26 of 34

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and I asked chief if he needed officers.
Q. So why didn’t you go back to the fire department?
A. Because the pay difference.
Q. What about the pay difference?
A. Well, nine dollars versus seventeen dollars.
Q. Okay.
A. Plus full benefits and insurance where I didn’t have that
with the city.
QO. Yeah.
A. And I have three kids and a wife to support so---

FRAZIER: I understand. Okay, I’m going to look
through my papers so if anyone have any questions.

ELLIS: I’ve got one.

FUQUA: I don’t have any questions.

CROSS-EXAMINATION
Questions by Mr. Ellis:
Q. Ah, you’ve said sir that ah, I represent Paul Babbitt by
the way ah, the in-car camera was activated on the way to the
jail.
A. Yes, sir.
Q. Now is that the camera that shows ah, the person in the
back seat?
A. Yes, it will show me driving and it records any audio and
visual inside the car.
Q. Okay. So where is it located physically in the car?
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Case 4:13-cv-00121-SWW =Document 25-3 ~~ Filed 01/03/14 Page 27 of 34

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A. It is the rearview mirror.
Q. Do you know if you still have that footage?
A. That footage is actually--yes, we still have the footage.
Q. Okay. And it would show Mr. Doss on his way then to jail
wouldn't it?
A. Yes, sir.
ELLIS: Okay, all right; thank you.
CROSS-EXAMINATION
Questions by Mr. Wilkerson:
Q. After the first time Mr. Doss was tazed what did he do?
A. He laid on the ground with one hand under his stomach in
his waistband which is when I believe Officer Green, I asked
him to remove his hand, he kept fighting and is when Officer
Green tazed him again for me to get his hands to finish him
handcuffing him.
Q. So that was the second time he was tazed?
A. The second time; yes.
Q. And the third time he was tazed when?
A. At the car when I went to open the door of the car he
shoved the door shut and was shoving backwards so that zapped
him again.
Q. And then there’s a fourth taze that didn’t happen at the
scene that happened at the jail?
A. From what I hear---
Q. Okay, so you wasn’t there?
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I wasn’t there.

So you only saw three taze?

- I only saw three times.
Okay.

- One taser deployment and three shocks.

Oo Pr OO Pp 1 >

Okay. Thank you.

ELLIS: Was he ah--may I go ahead?

FRAZIER: Yeah, go ahead.

RECROSS-EXAMINATION

Questions by Mr. Ellis:
Q. Was the same officer, county officer doing all three
tasing?
A. Yes. The leads was (sic) attached to his taser.
Os Green?
A. Green, yes. They are left attached to the taser until the
subject is fully contained where he is being transported and
then he disconnected the taser leads and left them in the car
with the, Mr. Doss.
Q. Oh, I thought you said the leads were removed at the jail?
A. The leads was removed out of Mr. Doss but it’s a cartridge

that is on the end of the gun that discharges when you get’em

(sic) in the car they can remove the cartage where he can put a
new cartridge onto his taser but the leads stay with the
subject until they are removed by a medical personnel.

Q. I understand. And you didn’t see’em (sic) get removed?

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Case 4:13-cv-00121-SWW = Document 25-3 ~~ Filed 01/03/14 Page 29 of 34

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A. No, ma’am--I mean no, sir.
REDIRECT EXAMINATION:
Questions by Mrs. Frazier:
Q. Okay, I got this one. Is this the only incidence report
that you’ve written?
A. This is the yes, this is the incidence report I wrote.

Q. Did you write any other reports or statements regarding

this?

A. No, ma’am.

Q. Okay.

A. Just what was wrote on the arrest details.

Q. And when did you write that?

A. This would have been at the end of my shift soon as I got

back to the city from the jail.

Q. Okay. The same day?

A. Ah, it would have been six o’clock the next morning after
shift.

Q. Okay. And that is an accurate reflection of what happened?
A. Yes, ma’am in short detail.

Q. But it’s accurate; correct?

A. Yes.

Q. Okay. And just so I can clarify for the Alexander Police
Department the only training you have receive is the part-time
officer training; is that correct?

A. Yes, ma’am.

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Case 4:13-cv-00121-SWW = Document 25-3 ~~ Filed 01/03/14 Page 30 of 34

Q. Okay.

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I don’t have anything further.

WILKERSON: I have nothing.

FUQUA:

I'm done.

[The deposition ended at 12:03 p.m., October 9,

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Case 4:13-cv-00121-SWW = Document 25-3 _—Filed 01/03/14 Page 31 of 34
Case 4:13-cv-00121-SWW = Document 25-3 ~~ Filed 01/03/14 Page 32 of 34

63

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64
Case 4:13-cv-00121-SWW =Document 25-3 ~~ Filed 01/03/14 Page 33 of 34

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‘DETAILS OF INFORMATION
Include points of entry, tools used, objects of attack where applicable

] Officer Watson received a call to the above address for an escort of a female to get her kids from the above suspect.
Once on scene the suspect started yelling at me and calling the girlfriend name and started threatening her and |. Officer
Watson with bodily harm. So | Officer Watson called for back up units to respond for back up because the suspect stated
that he had something for me a ran back in the house. The suspect had been drinking and was very disorderly. Saline
county deputy Arrived on scene and the suspect was still threatening me and the county deputy so the deputy order the
suspect to get on the ground the suspeci refused at which time the deputy tazed the suspect in order to take him into
custody. Once the suspect was in custody he was transported to the saline county jail. On the way to the jail the suspect
continued to make threatening statements which was all recorded on the inside camera.

Itemized List of Property Involved

Quantity Brand, Model & Description of Item Serial or ID # Value Property Tag #

$
$
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$
Total Vaiue Property | Stolen Recovered
$ $

ADDITIONAL ORIGINAL INFORMATION INCLUDED ON SUPPLEMENT FORM
LIST TRAFFIC SUMMONS & TICKET NUMBERS / / / i /

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REPORTER’'S CERTIFICATE

STATE OF ARKANSAS )
) SS. XXX-XX-XXXX
COUNTY OF PULASKI )

I, Gloria Y. Cobb, A Certified Court Reporter
and Notary Public in and for the aforesaid County and state, do
hereby certify that the witness, JEFF WATSON, was duly sworn by
me prior to the taking of testimony as to the truth of the
matters attested to and contained therein; that the testimony
of said witness was taken by me, a voice writer, and was
thereafter reduced to typewritten form by me or under my
direction and supervision; that the foregoing transcript is a
true and accurate record of the testimony given to the best of
my understanding and ability.

I FURTHER CERTIFY that I am neither counsel for,
related to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further, that I am not a
relative or employee of any attorney or counsel employed by the
parties hereto, nor financially interested, or otherwise, in
the outcome of this action; and that I have no contact with the
parties, attorneys, or persons with an interest in the action
that affects or has a substantial tendency to affect
impartiality, that requires me to relinquish control of an
original deposition transcript or copies of the transcript
before it is certified and delivered to the custodial attorney,
or that requires me to provide any service not available to all
parties to the act. }

\_foria Y.Cobb\ CCR LS#0336
Notary Public
My Commission Expires: a

January 16, 2017
My Commission #12358451

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